       Case 1:15-cr-00149-RJA-JJM Document 90 Filed 10/06/17 Page 1 of 3




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,

              v.                                                 15-CR-149-FPG-JJM

FRANK R. PARLATO, JR.

                        Defendants.
________________________________________________


          NOTICE OF MOTION AND MOTION FOR BAIL REVOCATION

       PLEASE TAKE NOTICE that the United States of America hereby moves the Court

for an Order revoking and/or modifying the defendant’s Release Order pursuant to Title 18,

United States Code, Sections 3142(c)(3) and 3148(b), or for such other relief as may be proper.

The motion is based upon the accompanying Affidavit of Assistant United States Attorney

Elizabeth R. Moellering.


       DATED: Buffalo, New York, October 6, 2017.


                                           JAMES P. KENNEDY, JR.
                                           Acting United States Attorney

                                    BY:    /s/ ELIZABETH R. MOELLERING
                                           Assistant United States Attorney
                                           United States Attorney=s Office
                                           Western District of New York
                                           138 Delaware Avenue
                                           Buffalo, New York 14202
                                           716/843-5872
                                           elizabeth.moellering@usdoj.gov
      Case 1:15-cr-00149-RJA-JJM Document 90 Filed 10/06/17 Page 2 of 3




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,

              v.                                                 15-CR-149-FPG-JJM

FRANK R. PARLATO, JR.

                        Defendants.
________________________________________________


                                         AFFIDAVIT


STATE OF NEW YORK )
COUNTY OF ERIE    )                SS:
CITY OF BUFFALO   )


       ELIZABETH R. MOELLERING, being duly sworn, deposes and states:


       1.     I am an Assistant United States Attorney for the Western District of New York

assigned to the prosecution of the above-referenced case. This affidavit is submitted in

support of the government's motion to revoke defendant’s bail.



       2.     On November 24, 2015, the Court released defendant, Frank R. Parlato,

subject to certain conditions, including that the defendant shall “restrict travel to WDNY,

SDFL, unless court permission is granted to travel elsewhere.” (Docket No. 4).



       3.     On August 8, 2017, the defendant, Frank R. Parlato, violated his conditions of

release by traveling, without the Court’s permission, to Clifton Park, New York, in the

Northern District of New York. The defendant wrote about his travel in his online blog which
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is   published      at    www.frankreport.com/2017/08/08/frank-parlato-available-to-meet-in-

clifton-park-with-concerned-espians and www.frankreport.com/2017/08/08/frank-parlato-

invites-keith-raniere-to-meet-at-public-forum. These articles are attached to this Affidavit as

Exhibit A.



        4.       On the basis of the foregoing, the defendant has failed to comply with the

conditions of his release.



        WHEREFORE, pursuant to Title 18, United States Code, Sections 3142(c)(3) and

3148(b), the government requests that the Court revoke or modify the defendant’s Release.



                                             /s/ ELIZABETH R. MOELLERING
                                             Assistant United States Attorney
                                             United States Attorney=s Office
                                             Western District of New York
                                             138 Delaware Avenue
                                             Buffalo, New York 14202
                                             716/843-5872
                                             elizabeth.moellering@usdoj.gov


Subscribed and sworn to before me

this 6th day of October, 2017.

 /s/ Kara L. Kern
KARA L. KERN, COMMISSIONER OF DEEDS
In And For The City Of Buffalo, New York.
My Commission Expires Dec. 31, 2018




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